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lN THE UNITED STATES DISTR_ICT COURT 5406‘ /0\
FOR THE WESTERN DISTRICT OF TENNESSE,E .;,_, /°,yo

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‘MF’($‘Q¢, /‘?/`

BANNER LIFE INSURANCE )
COMPANY, )
)
Piainuff, )
)

VS. ) NO. 05-1070-T/An
)
MARGARET JOHNSON, )
)
Defendant. )

 

ORDER TO SHOW CAUSE

 

The plaintiff, Banner Life lnsurance Company, filed this action on March 9, 2005
against defendant Margaret Johnson. Process Was issued by the Clerk of Court on that date.
Subsequently, on l\/[arch 28, 2005, the Court granted plaintiffs motion to pay certain funds
into the registry of the Court.

Pursuant to Federal Rule of Civil Procedure 4(m), service of process ordinarily must
be made on the defendant Within 120 days after the complaint is filed:

Time Limit for Service. If service of the summons and complaint is not

made upon a defendant within 120 days after.the filing of the complaint, the

court, upon motion or on its own initiative after notice to the plaintiff, shall

dismiss the action Without prejudice as to that defendant or direct that service

be effected Within a specified time; provided that if the plaintiff shows good

cause for the failure, the court shall extend the time for service for an
appropriate period. . . .

This document entered on the dockets e t |n compliance
with ama 58 and/opm (a) FncP on 0

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As of the date of this order, the record contains no proof that plaintiff has obtained
service on the defendant Therefore, plaintiff is hereby ORDERED to show cause within
15 days after the entry ofthis order why this case should not be dismissed under Fed. R. Civ.
P. 4(m).

lT lS SO ORDERED.

%AM

S D. TODD
UN TED STATES DISTRICT JUDGE

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DATE

   

    
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01070 was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable .l ames Todd
US DISTRICT COURT

